      Case: 3:21-cr-00107-SA-RP Doc #: 106 Filed: 02/14/23 1 of 3 PageID #: 400




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

VS.                                                                   NO.: 3:21-CR-107-NBB-RP

JAMARR SMITH, et al.

                     MOTION IN LIMINE AS TO EXPERT TESTIMONY
                           BY NON-DESIGNATED EXPERTS

       COMES NOW, Jamarr Smith, and files this Motion in Limine as to Expert Testimony by

Non-Designated Experts, and would state unto the court as follows:

                                                I.

       The government has only designated one expert in this case: Christopher Moody

               in the field of cellular phone technology, cellular towers, and the
               analysis of historical cellular phone records for the purpose of
               determining the approximate location from which a phone was
               used at a particular time or range of times. In addition, the
               government intends to call Mr. Moody as an expert in device
               location analysis, location data analysis, and Google location data
               history analysis for the purpose of determining the approximate
               location from which a device with Google location history
               activated was used at a particular time or range of times.

(Exh. A, pp. 1-2).

                                                II.

       It is anticipated that the government will solicit expert testimony from other law

enforcement witnesses based the witness’s “training and experience” and knowledge of what

“persons engaged in unlawful activity” tend to do or not do.

                                               III.

Federal Rule of Evidence 701 provides:

               If a witness is not testifying as an expert, testimony in the form of
               an opinion is limited to one that is: (a) rationally based on the
      Case: 3:21-cr-00107-SA-RP Doc #: 106 Filed: 02/14/23 2 of 3 PageID #: 401




                witness's perception; (b) helpful to clearly understanding the
                witness's testimony or to determining a fact in issue; and (c) not
                based on scientific, technical, or other specialized knowledge
                within the scope of Rule 702.

By definition, testimony based upon the law enforcement witness’s training, experience and

specialized knowledge of what criminals do and do not do is expert testimony. See e.g. United

States v. Haines, 803 F.3d 713, 727 (5th Cir. 2015) (holding that a properly designated expert is

required to introduce evidence of the meaning of drug slang); United States v. Garcia, 86 F.3d

394, 400 (5th Cir.1996) (stating that expert testimony is required to state “the significance of

certain conduct or methods of operation unique to the drug business so long as the testimony is

helpful and its relevance is not substantially outweighed by the possibility of unfair prejudice or

confusion.”).

       WHEREFORE, PREMISES CONSIDERED, the defendant Jamarr Smith respectfully

requests that the Court prohibit any non-expert government witness from providing expert

testimony, particularly as to what criminals do and do not do based upon their training and

experience.

                                             RESPECTFULLY SUBMITTED,

                                             JAMARR SMITH

                                             BY: /s/ Goodloe T. Lewis                       _
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      Case: 3:21-cr-00107-SA-RP Doc #: 106 Filed: 02/14/23 3 of 3 PageID #: 402




                                 CERTIFICATE OF SERVICE

       I, GOODLOE T. LEWIS, attorney for JAMARR SMITH, do hereby certify that I have on

this date electronically filed the foregoing document with the Clerk of Court using the ECF

system which sent notification of such filing to all counsel of record, including:

Robert Mims
Office of the US Attorney
900 Jefferson Avenue
Oxford, MS 38655
rmims@usadoj.gov


       DATED: February 14, 2023.



                                                      /s/ Goodloe T. Lewis           _
                                                      GOODLOE T. LEWIS


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